Case 1:21-cv-05241-JPB Document 1-3 Filed 12/22/21 Page 1 of 3




                  EXHIBIT C
                                                                                                    E-FILED IN OFFICE - AK
                        Case 1:21-cv-05241-JPB Document 1-3 Filed 12/22/21 Page 2 of 3            CLERK OF STATE COURT
                                                                                              GWINNETT COUNTY, GEORGIA
                                                                                                       21-C-08481-S3
                                                                                                  12/2/2021 11:13 AM
                                                                                                  TIANA P. GARNER, CLERK

                                  IN THE STATE COURT OF GWINNETT COUNTY

                                                STATE OF GEORGIA



              ANTONIO HALL,

                             Plaintiff,                                  CIVIL ACTION
                                                                     FILE NO.: 21-C-08481-S3
                        v.

              SAC WIRELESS, LLC,

                             Defendant.


                                          ACKNOWLEDGEMENT OF SERVICE

                    Andrew Horowitz of the law office Drew Eckl & Farnham, LLP, counsel for

             Defendant SAC Wireless, LLC, does hereby accept service of process of the Complaint on

             behalf of Defendant in the above-styled action. Due and proper service of the Complaint is

             hereby acknowledged, and no further or other service of process will be required.

                    By acknowledging service, it is expressly understood and agreed that Defendant is

             not waiving any defense, in law or in equity, that Defendant may have to any claim asserted

             by Plaintiff, and that Defendant expressly reserves the right to assert all defenses with the

             exception of service of process. Further, Defendant shall have   30   days from execution of

             this Acknowledgement to file a response to Plaintiff s Complaint.

                    This       day of                  .,   2021.




                                             Signature block on next page




Copy from re:SearchGA
                        Case 1:21-cv-05241-JPB Document 1-3 Filed 12/22/21 Page 3 of 3




                                                          Drew Eckl & Farnham, LLP


                                                            • n >i
                                                          By:
                                                          Andrew Horowitz
                                                          Georgia Bar No.
                                                          Attorney for Defendant SAC Wireless, LLC

             303 Peachtree St. NE, Suite 3500
             Atlanta, GA 30308
             0:404.885.6145
             F: 404.876.0992
             HorowitzA@ deflaw, com




Copy from re:SearchGA
